Case 3:15-cv-01143-BJD-JBT Document 218 Filed 09/28/18 Page 1 of 6 PageID 9571




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


   WINN-DIXIE STORES, INC. and BI-LO
   HOLDINGS, LLC,                                  Case No. 3:15-cv-01143-BJD-PDB

                                  Plaintiffs,

               v.

   SOUTHEAST MILK, INC., et al.,

                                  Defendants.



      DEFENDANT DAIRY FARMERS OF AMERICA, INC.’S MOTION TO SEAL

           Pursuant to Rule 5.2 of the Federal Rules of Civil Procedure, Local Rule 1.09(a),

  Section 9 of the parties’ Stipulated Confidentiality Agreement dated August 2, 2016, and the

  Court’s Order of September 14, 2018 (see ECF No. 213), Defendant Dairy Farmers of

  America, Inc. (“DFA”), by and through its undersigned counsel, hereby moves to keep under

  seal Exhibits 6 and 7 to Plaintiff’s Response in Opposition to Defendants’ Motion to Strike

  or Exclude the Opinions of Plaintiff’s Expert (“Plaintiff’s Opposition”) (ECF No. 207), to

  publicly file a redacted excerpt of the underlying compilation of documents filed as Exhibit

  27 to Plaintiff’s Opposition as previously sought by DFA (see ECF No. 202) (explaining that

  filing the entire compilation is not necessary and requesting leave to file a redacted excerpt),

  while maintaining the sealing of the full 239-page document under seal. Alternatively, DFA

  requests that if the Court determines that the entire compilation deposition exhibit should be

  publicly filed, DFA be allowed to redact all competitively sensitive information and

  confidential financial information from the public version of the document, including

  information on pages 17, 30, 32, 45-80, 82-87, 100-113, 115-137, 140-154, 156-166, 169-

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Case 3:15-cv-01143-BJD-JBT Document 218 Filed 09/28/18 Page 2 of 6 PageID 9572




  174, 176-186, 188-195, 197-206, and 211-238. DFA also seeks to publicly file redacted

  versions of the two volumes of the January 8-9, 2015 Deposition of John Wilson pursuant to

  Fed. R. Civ. P. 30(b)(6) in Edwards, et al. v. National Milk Producers Federation, et al.,

  Case No. 4:11-cv-4766-JSW (N.D. Cal.) in which specific prices are redacted.1

           DFA states that, pursuant to Local Rule 3.01(g), counsel for DFA exchanged emails

  with opposing counsel, but due to the press of business lead counsel has been unavailable to

  confer beyond the exchange of information in the emails and telephone discussions with

  local counsel, and therefore Plaintiff’s counsel has not agreed to the Motion.

           In support of this position, DFA states as follows:

           1.     Exhibits 6 and 7 to Plaintiff’s Opposition consist of charts of DFA’s over-

  order premiums for the period of January 2000 to September 2012 and the period of October

  2012 to December 2013, respectively. Exhibit 27 to Plaintiff’s Opposition is a 239-page

  compilation of multiple documents that was an exhibit in the January 8-9, 2015 Deposition

  of John Wilson in the Edwards case. The January 8-9, 2015 Deposition Transcript of John

  Wilson took place in the Edwards case and contains two days of testimony, during which

  specific prices charged to customers were sometimes discussed.

           2.     DFA does not believe that filing each item is necessary to Plaintiff’s

  Opposition. This is particularly true of Plaintiff’s Exhibit 27, which consists of more than

  200 pages of materials (and numerous different documents) that Plaintiff does not even

  reference anywhere in its Opposition. Accordingly, DFA proposes that it be permitted to

  file an excerpt of the exhibit containing only the first page and the two pages to which


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    It is DFA’s understanding that the Court has requested that Plaintiff file these volumes in
  their entirety after excerpts from the transcripts were submitted as exhibits to various filings.
  Plaintiff reached out to DFA to determine if the transcripts required sealing, causing DFA to
  seek permission to file a redacted version of the transcript in the instant Motion.
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Case 3:15-cv-01143-BJD-JBT Document 218 Filed 09/28/18 Page 3 of 6 PageID 9573




  Plaintiff cites in Plaintiff’s Opposition. DFA further proposes that the pricing information

  contained on those two pages, which is competitively sensitive and from which volume

  information related to specific customers could be ascertained, be redacted with the

  exception of the specific premiums cited by Plaintiff in its motion. This would mean that all

  of the information referenced by Plaintiff in its motion would be publicly accessible, while

  DFA’s interest in its confidential pricing and customer information would still be protected.

  This is the same approach DFA proposed to the Court in its September 4, 2018 filing

  regarding sealing. See ECF No. 202.

           3.    In each instance, the information that DFA seeks to withhold is sensitive

  pricing information. DFA seeks to maintain Exhibits 6 and 7 under seal in their entirety

  because they consist of charts of sensitive pricing information. DFA seeks to publicly file

  an excerpt of the compilation of documents that make up the deposition exhibit that Plaintiff

  attached as Exhibit 27, redacting only the sensitive pricing information that was not

  specifically cited by Plaintiff. The other documents that make up that compilation

  deposition exhibit simply do not need to be filed because they are not cited by Plaintiff.

  And for the deposition transcript volumes, DFA seeks to redact only specific prices that are

  discussed.

           4.    Both DFA and its customers have a strong privacy interest in the highly

  confidential, competitively sensitive pricing information that DFA seeks to redact or

  otherwise withhold.

           5.    DFA proposes that the information be redacted or sealed indefinitely.




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  46535785;1
Case 3:15-cv-01143-BJD-JBT Document 218 Filed 09/28/18 Page 4 of 6 PageID 9574




                                   MEMORANDUM OF LAW

           Courts in the Eleventh Circuit routinely permit the sealing of confidential pricing and

  financial information. See, e.g., Local Access, LLC v. Peerless Network, Inc., No. 6:14-cv-

  399-Orl-40TBS, 2017 U.S. Dist. LEXIS 72511, at *8-9 (M.D. Fla. May 12, 2017); NXP

  B.V. v. Blackberry Ltd., No. 6:12-cv-498-Orl-22TBS, 2014 U.S. Dist. LEXIS 113591, at *13

  (M.D. Fla. Aug. 15, 2014).

           First, DFA seeks to file Exhibits 6 and 7 to Plaintiff’s Opposition under seal, which

  consist of charts of DFA’s over-order premiums for the period of January 2000 to

  September 2012 and the period of October 2012 to December 2013. These charts consist

  entirely of highly confidential, competitively sensitive pricing information in which both

  DFA and its customers have a strong privacy interest. “A party’s interest in the privacy of

  its financial records and the terms of confidential agreements may outweigh the public’s

  right of access.” Local Access, 2017 U.S. Dist. LEXIS 72511, at *8.

           Next, DFA requests that it be permitted to publicly file a redacted excerpt of the

  deposition exhibit that Plaintiff filed as Exhibit 27, a 239-page compilation of multiple

  documents. DFA further requests that the pricing information contained on those two pages

  be redacted with the exception of the specific premiums cited by Plaintiff in its briefs. This

  exhibit is already the subject of a motion to seal. See ECF Nos. 195, 202. As Defendants

  explained in their earlier filing, it is entirely unnecessary to file each of the numerous

  documents that comprise the deposition exhibit, many of which contain entirely irrelevant,

  competitively sensitive information. See ECF No. 202 at 2-4. DFA’s proposal would mean

  that all of the information referenced by Plaintiff in its motion would be publicly accessible,

  while still preserving DFA’s interest in its confidential pricing and customer information.

  Alternatively, if the full 239-page compilation is filed, DFA should be permitted to redact

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  46535785;1
Case 3:15-cv-01143-BJD-JBT Document 218 Filed 09/28/18 Page 5 of 6 PageID 9575




  competitively sensitive information and confidential financial information on pages 17, 30,

  32, 45-80, 82-87, 100-113, 115-137, 140-154, 156-166, 169-174, 176-186, 188-195, 197-

  206, and 211-238.

           Finally, DFA moves to publicly file redacted versions of the two volumes of the

  Deposition Transcript of John Wilson, dated January 8-9, 2015, excerpts of which were filed

  as exhibits to multiple filings. DFA does not seek to seal the transcript in its entirety, nor

  does it seek to seal any of the information cited by Plaintiff, but instead requests that the

  Court permit it to make very narrowly tailored redactions of specific pricing information

  designed to protect DFA’s and its customers’ sensitive pricing information. See Local

  Access, 2017 U.S. Dist. LEXIS 72511, at *8.

                                          CONCLUSION

           For the foregoing reasons, DFA requests that it be permitted to maintain the

  confidentiality of its competitively sensitive pricing information by indefinitely maintaining

  under seal Exhibits 6 and 7 to Plaintiff’s Opposition, by publicly filing a redacted excerpt of

  the compilation deposition exhibit Plaintiff filed as Exhibit 27 to its Opposition, and by

  publicly filing the transcripts to the January 8-9, 2015 Deposition of John Wilson with

  minimal redactions of sensitive pricing information.



  Dated: September 28, 2018                      Respectfully submitted,


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Case 3:15-cv-01143-BJD-JBT Document 218 Filed 09/28/18 Page 6 of 6 PageID 9576




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                              CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 28, 2018, a true and correct copy of the
  foregoing was filed with the Clerk of the Court using the CM/ECF system, which will send a
  notice of electronic filing to all counsel of record.

                                             /s/ Cindy A. Laquidara
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